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  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK
  --------------------------------------------------------------X
 In re:                                                         :
                                                                :   Chapter 11
 WONDERWORK, INC.,                                              :
 ---------------------------------------------------------------:   Case No. 16-13607 (SMB)
 VINCENT A. SAMA, as Litigation Trustee                         :
 of the WW LITIGATION TRUST,                                    :   Adv. No. 18-1873 (SMB)
                                                                :
                                      Plaintiff,                :
                                                               :
         -against-                                              :
                                                                :
 BRIAN MULLANEY, HANA FUCHS,                                    :
 THEODORE DYSART, RAVI KANT,                                    :
 JOHN J. CONEYS, STEVEN LEVITT,                                 :
 CLARK KOKICH, STEVEN RAPPAPORT,                                :
 RICHARD PRICE, and MARK ATKINSON                               :
                                                                :
                                      Defendants.               :
  ------------------------------------------------------------- X

                     ANSWER AND SEPARATE AFFIRMATIVE DEFENSES
                          TO SECOND AMENDED COMPLAINT

        Defendant Brian Mullaney (“Mullaney” or the “Defendant”) by and through his attorneys,

Amini LLC, by way of Answer and Separate Affirmative Defenses to the Second Amended

Complaint (the “SAC”) filed by the plaintiff Vincent A. Sama, as Litigation Trustee of the

WonderWork Litigation Trust (the “Trustee” or “Plaintiff”) respectfully states as follows:
                                        Nature of the Action

       1.      Defendant Mullaney admits only that he was an officer of WonderWork, Inc. (the

“Debtor”). The remainder of the allegations contained in paragraph 1 of the SAC contain legal

conclusions to which no answer is required. To the extent a response is deemed required, Defendant

Mullaney denies each and every allegation thereof.

       2.      The allegations contained in paragraph 2 of the SAC are legal conclusions to which no

answer is required. To the extent a response is deemed required, Defendant Mullaney denies each and

every allegation thereof.

       3.      The allegations contained in paragraph 3 of the SAC contain legal conclusions to

which no answer is required. To the extent a response is deemed required, Defendant Mullaney denies

each and every allegation thereof.

       4.      Defendant Mullaney is without knowledge or information sufficient to form a belief

as to the truth of the allegations contained in paragraph 4 of the SAC. To the extent a response is

deemed required, Defendant Mullaney denies each and every allegation thereof.

       5.      The allegations contained in paragraph 5 of the SAC are legal conclusions to which no

answer is required. To the extent a response is deemed required, Defendant Mullaney denies each and

every allegation thereof.

       6.      Defendant Mullaney neither admits nor denies the allegations contained in paragraph

6 of the SAC. Paragraph 6 purports to summarize the SAC, and Defendant Mullaney respectfully

refers the Court to the SAC for the contents thereof.

                      The Parties And Other Significant Persons or Entities

       7.      Defendant Mullaney is without knowledge or information sufficient to form a belief

as to the truth of the allegations contained in paragraph 7 of the SAC.

                                                  2
       8.      Admitted.

       9.      Admitted.

       10.     Defendant Mullaney denies the allegations contained in paragraph 10 of the SAC but

states that Hana Fuchs was the Chief Financial Officer of the Debtor.

       11.     Admitted.

       12.     Defendant Mullaney denies the allegations contained in paragraph 12 of the SAC but

states that Karen Lazarus was Director of Strategic Projects.

       13.     Admitted.

       14.     Defendant Mullaney states that he lacks knowledge or information sufficient to form

a belief as to the allegations contained in paragraph 14 of the SAC but states that Ravi Kant served

on the Debtor’s Board of Directors.

       15.     Defendant Mullaney states that he lacks knowledge or information sufficient to form

a belief as to the allegations contained in paragraph 15 of the SAC but states that John C. Coneys

served on the Debtor’s Board of Directors.

       16.     Defendant Mullaney states that he lacks knowledge or information sufficient to form

a belief as to the allegations contained in paragraph 16 of the SAC but states that Richard Steele

served on the Debtor’s Board of Directors.

       17.     Defendant Mullaney states that he lacks knowledge or information sufficient to form

a belief as to the allegations contained in paragraph 17 of the SAC but states that Steven Levitt served

on the Debtor’s Board of Directors.

       18.     Defendant Mullaney states that he lacks knowledge or information sufficient to form

a belief as to the allegations contained in paragraph 18 of the SAC but states that Clark Kokich served


                                                   3
on the Debtor’s Board of Directors.

       19.     Defendant Mullaney states that he lacks knowledge or information sufficient to form

a belief as to the allegations contained in paragraph 19 of the SAC but states that Steven Rappaport

served on the Debtor’s Board of Directors.

       20.     Defendant Mullaney states that he lacks knowledge or information sufficient to form

a belief as to the allegations contained in paragraph 20 of the SAC but states that Richard Price served

on the Debtor’s Board of Directors.

       21.     Admitted.

                                     JURISDICTION AND VENUE

       22.     The allegations contained in paragraph 22 of the SAC are legal conclusions to which

no answer is required. To the extent an answer is deemed required, Defendant Mullaney avers that

Plaintiff purports to rely upon the statutory provisions set forth therein.

       23.     The allegations contained in paragraph 23 of the SAC are legal conclusions to which

no answer is required. To the extent an answer is deemed required, Defendant Mullaney avers that

Plaintiff purports to rely upon the statutory provisions set forth therein.

       24.     The allegations contained in paragraph 24 of the SAC are legal conclusions to which

no answer is required. To the extent an answer is deemed required, Defendant Mullaney avers that

Plaintiff purports to rely upon the statutory provisions set forth therein.

       25.     Defendant Mullaney neither admits nor denies the allegations contained in paragraph

25 of the SAC. Paragraph 25 purports to summarize the Plan1 and Confirmation Order, and Defendant

Mullaney respectfully refers the Court to those documents for the contents thereof.




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       All capitalized terms not otherwise defined herein shall bear the meaning given in the SAC.

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       26.     The allegations contained in paragraph 26 of the SAC are legal conclusions to which

no answer is required. Defendant Mullaney does not consent to the entry of final orders and

judgments by this Court and reserves his right to have the reference of this adversary proceeding

withdrawn and for it to continue in the District Court.

                       PROCEDURAL AND FACTUAL BACKGROUND

       27.     Defendant Mullaney neither admits nor denies the allegations contained in paragraph

27 of the SAC. Paragraph 27 purports to describe the Debtor’s bankruptcy petition and its Amended

Schedules, and Defendant Mullaney respectfully refers the Court to those documents for the contents

thereof.

       28.     Defendant Mullaney neither admits nor denies the allegations contained in paragraph

28 of the SAC. Paragraph 28 purports to describe the record of the Debtor’s bankruptcy proceedings,

and Defendant Mullaney respectfully refers the Court to the bankruptcy record for the contents

thereof.

       29.     Defendant Mullaney neither admits nor denies the allegations contained in paragraph

29 of the SAC. Paragraph 29 purports to describe the record of the Debtor’s bankruptcy proceedings,

and Defendant Mullaney respectfully refers the Court to the bankruptcy record for the contents

thereof.

       30.     Defendant Mullaney neither admits nor denies the allegations contained in paragraph

30 of the SAC. Paragraph 30 purports to describe the record of the Debtor’s bankruptcy proceedings,

and Defendant Mullaney respectfully refers the Court to the bankruptcy record for the contents

thereof.

       31.     Defendant Mullaney neither admits nor denies the allegations contained in paragraph

31 of the SAC. Paragraph 31 purports to describe the record of the Debtor’s bankruptcy proceedings,


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and Defendant Mullaney respectfully refers the Court to the bankruptcy record for the contents

thereof.

       32.     Defendant Mullaney neither admits nor denies the allegations contained in paragraph

32 of the SAC. Paragraph 32 purports to describe the record of the Debtor’s bankruptcy proceedings,

and Defendant Mullaney respectfully refers the Court to the bankruptcy record for the contents

thereof.

       33.     Defendant Mullaney admits only that he was interviewed by the Examiner. Defendant

Mullaney is without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in paragraph 33 of the SAC.

       34.     Defendant Mullaney denies the allegations contained in paragraph 34 of the SAC and

respectfully refers the Court to the bankruptcy record for the contents thereof.

       35.     Defendant Mullaney admits only that he resigned in late October 2017. Defendant

Mullaney neither admits nor denies the allegations contained in paragraph 35 of the SAC regarding

the bankruptcy record, and respectfully refers the Court to the bankruptcy record for the contents

thereof.

       36.     Defendant Mullaney neither admits nor denies the allegations contained in paragraph

36 of the SAC. Paragraph 36 purports to describe the record of the Debtor’s bankruptcy proceedings,

and Defendant Mullaney respectfully refers the Court to the bankruptcy record for the contents

thereof.

       37.     Defendant Mullaney neither admits nor denies the allegations contained in paragraph

37 of the SAC. Paragraph 37 purports to describe the record of the Debtor’s bankruptcy proceedings,

and Defendant Mullaney respectfully refers the Court to the bankruptcy record for the contents

thereof.


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       38.     Defendant Mullaney neither admits nor denies the allegations contained in paragraph

38 of the SAC. Paragraph 38 purports to describe the record of the Debtor’s bankruptcy proceedings,

and Defendant Mullaney respectfully refers the Court to the bankruptcy record for the contents

thereof.

       39.     Defendant Mullaney neither admits nor denies the allegations contained in paragraph

39 of the SAC. Paragraph 39 purports to describe the WonderWork Litigation Trust and Declaration

of Trust, as well as the Plan, and Defendant Mullaney respectfully refers the Court to those documents

for the contents thereof.

       40.     Defendant Mullaney denies the allegations contained in paragraph 40 of the SAC and

respectfully refers the Court to the Plan for the contents thereof.

                                         Factual Background

       41.     Admitted.

       42.     Defendant Mullaney admits only that the IRS approved the Debtor’s tax-exempt

status, and that the Debtor was registered to solicit charitable contributions in New York. Defendant

Mullaney is without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations contained in paragraph 42 of the SAC.

       43.     The allegations contained in paragraph 43 of the SAC are legal conclusions to which

no answer is required.

       44.     Defendant Mullaney is without knowledge or information sufficient to form a belief

as to the truth of the allegations contained in paragraph 44 of the SAC and respectfully refers the

Court to the Debtor’s CHAR500 submissions.

       45.     Defendant Mullaney neither admits nor denies the allegations contained in paragraph

45 of the SAC. Paragraph 45 purports to describe the Debtor’s bylaws (and a subsequent amendment

                                                   7
thereto in 2016), and Defendant Mullaney respectfully refers the Court to those Bylaws (as amended)

for the contents thereof.

       46.     Defendant Mullaney admits only that he became President of the Debtor in or around

April 2012. Defendant Mullaney neither admits nor denies the allegations contained in paragraph 46

regarding the Debtor’s Certificate of Amendment, and respectfully refers the Court to that Certificate

for the contents thereof.

       47.     Defendant Mullaney neither admits nor denies the allegations contained in paragraph

47 of the SAC. Paragraph 47 contains allegations regarding the Debtor’s Certificate of Amendment

and prior incorporation documents, and Defendant Mullaney respectfully refers the Court to that

Certificate and incorporation documents for the contents thereof.

       48.     Admitted.

       49.     Defendant Mullaney is without knowledge or information sufficient to form a belief

as to the truth of the allegations contained in paragraph 49 of the SAC.

       50.     Defendant Mullaney is without knowledge or information sufficient to form a belief

as to the truth of the allegations contained in paragraph 50 of the SAC.

       51.     Defendant Mullaney admits only that Dysart resigned from the Board in or around

November 2015. Defendant Mullaney is without knowledge or information sufficient to form a belief

as to the truth of the remaining allegations contained in paragraph 51 of the SAC.

       52.     Defendant Mullaney admits only that Levitt, Kokich, Rappaport, Price, Atkinson, and

Steele joined the Board in or around December 2015. Defendant Mullaney neither admits nor denies

the allegations contained in paragraph 52 regarding draft meeting minutes, and respectfully refers the

Court to those draft minutes for the contents thereof. Defendant Mullaney is without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations contained in

                                                  8
paragraph 52.

       53.      Defendant Mullaney is without knowledge or information sufficient to form a belief

as to the truth of the allegations contained in paragraph 53 of the SAC.

       54.      Denied.

       55.      Denied.

       56.      Defendant Mullaney denies the allegations contained in paragraph 56 of the SAC and

respectfully refers the Court to the Examiner’s Report for the contents thereof.

Mullaney’s Compensation Package

       57.      Denied.

       58.      Denied.

Mullaney’s Compensation

       59.      Denied.

       60.      Defendant Mullaney admits only that the Debtor engaged Pearl Meyer as a

compensation consultant. Defendant Mullaney neither admits nor denies the allegations contained in

paragraph 60 regarding the Pearl Meyer engagement letter, and respectfully refers the Court to that

letter for the contents thereof. Defendant Mullaney denies the remaining allegations in paragraph 60.

       61.      Defendant Mullaney denies the allegations contained in paragraph 61 of the SAC and

respectfully refers the Court to the Pearl Meyer report for the contents thereof.

       62.      Defendant Mullaney denies the allegations contained in paragraph 62 of the SAC and

respectfully refers the Court to the Pearl Meyer report for the contents thereof.

       63.      Denied.

       64.      Defendant Mullaney admits only that he entered into a formal employment agreement


                                                   9
with the Debtor in or around December 2015. Defendant Mullaney is without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations contained in

paragraph 64 of the SAC.

          65.   Defendant Mullaney neither admits nor denies the allegations contained in paragraph

65 of the SAC. Paragraph 65 contains allegations regarding Defendant Mullaney’s Employment

Agreement, and Defendant Mullaney respectfully refers the Court to that agreement for the contents

thereof.

          66.   Denied.

The Travel Policy

          67.   Defendant Mullaney neither admits nor denies the allegations contained in paragraph

67 of the SAC. Paragraph 67 contains allegations regarding the Debtor’s travel policy, and Defendant

Mullaney respectfully refers the Court to that policy for the contents thereof.

          68.   Denied.

          69.   Defendant Mullaney admits only that he was reimbursed for certain travel expenses

between Boston and the Debtor’s New York office. The remaining allegations in paragraph 69 are

denied.

Insurance

          70.   Defendant Mullaney admits only that the Debtor maintained a life insurance policy

for him from 2012 to 2016. The remaining allegations in paragraph 70 are denied.

          71.   Defendant Mullaney is without knowledge or information sufficient to form a belief

as to the truth of the allegations contained in paragraph 71 of the SAC.

Legal Fees and Expenses

          72.   Denied.

                                                  10
       73.     Denied.

       74.     Defendant Mullaney denies the allegations contained in paragraph 74 of the SAC and

respectfully refers the Court to the Board minutes and the record of the Smile Train Copyright Case

for the contents thereof.

       75.     Denied.

       76.     Defendant Mullaney denies the allegations contained in paragraph 76 of the SAC and

respectfully refers the Court to the Smile Train Copyright Case settlement agreement for the contents

thereof.

       77.     Denied.

       78.     Denied.

       79.     Defendant Mullaney denies the allegations contained in paragraph 79 of the SAC and

respectfully refers the Court to the Smile Train UK Lawsuit record for the contents thereof and the

Debtor’s records for expenses incurred in connection therewith.

       80.     Defendant Mullaney is without knowledge or information sufficient to form a belief

as to the truth of the allegations contained in paragraph 80 of the SAC.

Mullaney’s Limbo Pay and Excessive Expenses

       81.     Denied.

       82.     Defendant Mullaney denies the allegations contained in paragraph 82 of the SAC and

respectfully refers the Court to the Examiner’s Report for the contents thereof.

       83.     Denied.

       84.     Admitted.

       85.     Denied.

                                                 11
       86.     Denied.

       87.     Denied.

       88.     Denied.

Fuchs Compensation

       89.     Defendant Mullaney admits only that the Debtor agreed to provide Fuchs with a

signing bonus and a three-year employment contract. The remaining allegations contained in

paragraph 89 are denied.

       90.     Defendant Mullaney admits only that the Debtor agreed to provide Lazarus and

Greenwood with signing bonuses.         Defendant Mullaney is without knowledge or information

sufficient to form a belief as to the truth of the remaining allegations contained in paragraph 90 of the

SAC.

Internal Controls, Accounting, and Fundraising

       91.     Denied.

       92.     Defendant Mullaney denies the allegations contained in paragraph 92 of the SAC and

respectfully refers the Court to the Policy Manual.

       93.     Defendant Mullaney neither admits nor denies the allegations contained in paragraph

93 of the SAC. The allegations in paragraph 93 purportedly describe the Policy Manual, and

Defendant Mullaney respectfully refers the Court to the manual for the contents thereof.

       94.     Denied.

       95.     Denied.

       96.     Denied.

       97.     Denied.

                                                   12
       98.     Denied.

Debtor Enters Into Impact Loans, Which Render it Insolvent

       99.     Defendant Mullaney admits only that the Debtor entered into a series of impact loans

and respectfully refers the Court to those loan agreements for the terms and conditions thereof.

Defendant Mullaney is without knowledge or information sufficient to form a belief as to the truth of

the remaining allegations contained in paragraph 99.

       100.    Admitted.

       101.    Defendant Mullaney neither admits nor denies the allegations contained in paragraph

101 of the SAC. The allegations in paragraph 101 purportedly describe various loan documents, and

Defendant Mullaney respectfully refers the Court to those loan documents and the Debtor’s financial

records for the contents thereof.

       102.    Denied.

       103.    Denied.

The HelpMeSee Arbitration

       104.    Denied.

       105.    Defendant Mullaney neither admits nor denies the allegations contained in paragraph

105 of the SAC. The allegations in paragraph 105 purportedly describe a written fundraising

agreement, and Defendant Mullaney respectfully refers the Court to that agreement for the contents

thereof.

       106.    Defendant Mullaney neither admits nor denies the allegations contained in paragraph

106 of the SAC. The allegations in paragraph 106 purportedly describe a written termination letter,

as well as the record in the HelpMeSee Arbitration, and Defendant Mullaney respectfully refers the


                                                 13
Court to that letter and arbitration record for the contents thereof.

       107.    Defendant Mullaney neither admits nor denies the allegations contained in paragraph

107 of the SAC. The allegations in paragraph 107 purportedly describe the record in the HelpMeSee

Arbitration, and Defendant Mullaney respectfully refers the Court to that arbitration record for the

contents thereof.

       108.    Defendant Mullaney neither admits nor denies the allegations contained in paragraph

108 of the SAC. The allegations in paragraph 108 purportedly describe a written Partial Final Award,

as well as the record in the HelpMeSee Arbitration, and Defendant Mullaney respectfully refers the

Court to that partial award and arbitration record for the contents thereof.

       109.    Defendant Mullaney is without knowledge or information sufficient to form a belief

as to the truth of the allegations contained in paragraph 109 of the SAC.

       110.    Defendant Mullaney neither admits nor denies the allegations contained in paragraph

110 of the SAC. The allegations in paragraph 110 purportedly describe the Final Award in the

HelpMeSee Arbitration, and Defendant Mullaney respectfully refers the Court to that award for the

contents thereof.

       111.    Denied.

       112.    Defendant Mullaney denies the allegations contained in paragraph 112 and

respectfully refers the Court to the HelpMeSee arbitration award for the contents thereof.

       113.    Defendant Mullaney neither admits nor denies the allegations contained in paragraph

113 of the SAC. Paragraph 113 purportedly describes the arbitration Award, and Defendant Mullaney

respectfully refers the Court to that arbitration award for the contents thereof.

       114.    Defendant Mullaney is without knowledge or information sufficient to form a belief

as to the truth of the allegations contained in paragraph 114 of the SAC. To the extent a response is

                                                   14
deemed required, Defendant Mullaney denies each and every allegation thereof.

The Trustee Motion and Appointment of an Examiner

       115.    Defendant Mullaney neither admits nor denies the allegations contained in paragraph

115 of the SAC. The allegations in paragraph 115 purportedly describe a written Trustee Motion, as

well as the record in the Debtor’s bankruptcy, and Defendant Mullaney respectfully refers the Court

to that Trustee Motion and bankruptcy record for the contents thereof.

       116.    Defendant Mullaney neither admits nor denies the allegations contained in paragraph

116 of the SAC. The allegations in paragraph 116 purportedly describe a written Trustee Motion, and

Defendant Mullaney respectfully refers the Court to that Trustee Motion for the contents thereof.

       117.    Defendant Mullaney neither admits nor denies the allegations contained in paragraph

117 of the SAC. The allegations in paragraph 117 purportedly describe written declarations, as well

as the record in the Debtor’s bankruptcy, and Defendant Mullaney respectfully refers the Court to

those declarations and bankruptcy record for the contents thereof.

       118.    Defendant Mullaney neither admits nor denies the allegations contained in paragraph

118 of the SAC. The allegations in paragraph 118 purportedly describe a written declaration, and

Defendant Mullaney respectfully refers the Court to that declaration for the contents thereof.

       119.    Defendant Mullaney neither admits nor denies the allegations contained in paragraph

119 of the SAC. The allegations in paragraph 119 purportedly describe written declarations, and

Defendant Mullaney respectfully refers the Court to those declarations for the contents thereof.

       120.    Defendant Mullaney neither admits nor denies the allegations contained in paragraph

120 of the SAC. The allegations in paragraph 120 purportedly describe written declarations, and

Defendant Mullaney respectfully refers the Court to those declarations for the contents thereof.

       121.    Defendant Mullaney denies the allegations contained in paragraph 121 of the SAC and

                                                 15
respectfully refers the Court to the Examiner’s Report for the contents thereof.

       122.    Defendant Mullaney denies the allegations contained in paragraph 122 of the SAC and

respectfully refers the Court to the written declarations for the contents thereof.

       123.    Defendant Mullaney neither admits nor denies the allegations contained in paragraph

123 of the SAC. The allegations in paragraph 123 purportedly describe written Court Order, as well

as the record in the Debtor’s bankruptcy, and Defendant Mullaney respectfully refers the Court to

that order and bankruptcy record for the contents thereof.

       124.    Defendant Mullaney neither admits nor denies the allegations contained in paragraph

124 of the SAC. The allegations in paragraph 124 purportedly describe a written Examiner Order, as

well as the record in the Debtor’s bankruptcy, and Defendant Mullaney respectfully refers the Court

to that order and bankruptcy record for the contents thereof.

The BDO Audit

       125.    Defendant Mullaney admits only that the Debtor retained BDO in the spring of 2017

to audit its financial statements for its fiscal year ending June 30, 2016 and to prepare certain required

tax filings for that period. The remining allegations contained in paragraph 125 are denied.

       126.    Defendant Mullaney is without knowledge or information sufficient to form a belief

as to the truth of the allegations contained in paragraph 126 of the SAC.

       127.    Defendant Mullaney denies the allegations contained in paragraph 127 of the SAC and

respectfully refers the Court to the BDO letter dated September 1, 2017 for the contents thereof.

       128.    Defendant Mullaney neither admits nor denies the allegations contained in paragraph

128 of the SAC. Paragraph 128 purportedly describes the DBO letter dated September 1, 2017, and

Defendant Mullaney respectfully refers the Court to that letter for the contents thereof.

       129.    Defendant Mullaney neither admits nor denies the allegations contained in paragraph
                                                   16
129 of the SAC regarding the DBO letter dated September 1, 2017, and respectfully refers the Court

to that letter for the contents thereof. Defendant Mullaney is without knowledge or information

sufficient to form a belief as to the truth of the remaining allegations contained in paragraph 129.

       130.    Defendant Mullaney denies the allegations contained in paragraph 130 and

respectfully refers the Court to the record in Debtor’s bankruptcy for the contents thereof.

Unauthorized Non-Ordinary Course Payments

       131.    Defendant Mullaney admits only that he requested payment for past-due

compensation from the Debtor in late September 2017. Defendant Mullaney is without knowledge

or information sufficient to form a belief as to the truth of the remaining allegations contained in

paragraph 131 of the SAC.

       132.    Defendant Mullaney admits only that he requested payment of his October 2017 salary

from the Debtor in mid-October 2017. Defendant Mullaney is without knowledge or information

sufficient to form a belief as to when the Examiner’s Report was due to be filed and denies the

remaining allegations contained in paragraph 132.

       133.    Denied.

       134.    Denied.

Bankruptcy Costs

       135.    Denied.

       136.    Denied.

       137.    Denied.




                                                  17
                                       FIRST CLAIM OF RELIEF
                                     Breach of Fiduciary Duties
                                (Against Defendant Theodore Dysart)

        138.    Defendant Mullaney repeats and restates each and every answer set forth above as if

set forth fully at length herein.

   139-142.     Defendant Mullaney makes no further response to the allegations in the First Claim of

Relief because the First Claim of Relief is not directed to Defendant Mullaney and does not state a

claim against him. Insofar as the allegations asserted in First Claim of Relief can be construed to be

directed to Defendant Mullaney, they are denied.

                                      SECOND CLAIM OF RELIEF
                                        Breach of Fiduciary Duties
                                    (Against Defendant John J. Coneys)

        143.    Defendant Mullaney repeats and restates each and every answer set forth as if set forth

fully at length herein.

   144-147.     Defendant Mullaney makes no further response to the allegations in the Second Claim

of Relief because the Second Claim of Relief is not directed to Defendant Mullaney and does not

state a claim against him. Insofar as the allegations asserted in Second Claim of Relief can be

construed to be directed to Defendant Mullaney, they are denied.

                                       THIRD CLAIM OF RELIEF
                                       Breach of Fiduciary Duties
                                    (Against Defendant Steven Levitt)

        148.    Defendant Mullaney repeats and restates each and every answer set forth above as if

set forth fully at length herein.

   149-152.     Defendant Mullaney makes no further response to the allegations in the Third Claim of

Relief because the Third Claim of Relief is not directed to Defendant Mullaney and does not state a

claim against him. Insofar as the allegations asserted in Third Claim of Relief can be construed to be

directed to Defendant Mullaney, they are denied.
                                                   18
                                     FOURTH CLAIM OF RELIEF
                                       Breach of Fiduciary Duties
                                    (Against Defendant Clark Kokich)

        153.    Defendant Mullaney repeats and restates each and every answer set forth above as if

set forth fully at length herein.

   154-157.     Defendant Mullaney makes no further response to the allegations in the Fourth Claim

of Relief because the Fourth Claim of Relief is not directed to Defendant Mullaney and does not state

a claim against him. Insofar as the allegations asserted in Fourth Claim of Relief can be construed to

be directed to Defendant Mullaney, they are denied.

                                      FIFTH CLAIM OF RELIEF
                                     Breach of Fiduciary Duties
                                (Against Defendant Steven Rappaport)

        158.    Defendant Mullaney repeats and restates each and every answer set forth above as if

set forth fully at length herein.

   159-162.     Defendant Mullaney makes no further response to the allegations in the Fifth Claim of

 Relief because the Fifth Claim of Relief is not directed to Defendant Mullaney and does not state a

 claim against him. Insofar as the allegations asserted in Fifth Claim of Relief can be construed to be

 directed to Defendant Mullaney, they are denied.

                                      SIXTH CLAIM OF RELIEF
                                       Breach of Fiduciary Duties
                                    (Against Defendant Richard Price)

        163.    Defendant Mullaney repeats and restates each and every answer set forth above as if

set forth fully at length herein.

   164-167.     Defendant Mullaney makes no further response to the allegations in the Sixth Claim of

 Relief because the Sixth Claim of Relief is not directed to Defendant Mullaney and does not state a

 claim against him. Insofar as the allegations asserted in Sixth Claim of Relief can be construed to

 be directed to Defendant Mullaney, they are denied.
                                                   19
                                     SEVENTH CLAIM OF RELIEF
                                        Breach of Fiduciary Duties
                                    (Against Defendant Mark Atkinson)

        168.    Defendant Mullaney repeats and restates each and every answer set forth above as if

set forth fully at length herein.

   169-172.     Defendant Mullaney makes no further response to the allegations in the Seventh Claim

 of Relief because the Seventh Claim of Relief is not directed to Defendant Mullaney and does not

 state a claim against him. Insofar as the allegations asserted in Seventh Claim of Relief can be

 construed to be directed to Defendant Mullaney, they are denied.

                                      EIGHTH CLAIM OF RELIEF
                                        Breach of Fiduciary Duties
                                    (Against Defendant Brian Mullaney)

        173.    Defendant Mullaney repeats and restates each and every answer set forth above as if

set forth fully at length herein.

        174.    Defendant Mullaney admits only that he was an officer of the Debtor. The remaining

allegations contained in paragraph 174 of the SAC are legal conclusions to which no answer is

required.

        175.    Denied.

        176.    Denied.

        177.    Denied.

        178.    The allegations contained in paragraph 178 of the SAC are legal conclusions to which

no answer is required.

                                       NINTH CLAIM OF RELIEF
                                       Breach of Fiduciary Duties
                                     (Against Defendant Hana Fuchs)

        179.    Defendant Mullaney repeats and restates each and every answer set forth above as if

set forth fully at length herein.

                                                   20
   180-184.     Defendant Mullaney makes no further response to the allegations in the Ninth Claim of

Relief because the Ninth Claim of Relief is not directed to Defendant Mullaney and does not state a

claim against him. Insofar as the allegations asserted in Ninth Claim of Relief can be construed to be

directed to Defendant Mullaney, they are denied.

                                     TENTH CLAIM OF RELIEF
     Constructive Fraudulent Conveyance Under Section 544(b) of the Bankruptcy Code
                           (Against Defendant Brian Mullaney)

        185.    Defendant Mullaney repeats and restates each and every answer set forth above as if

set forth fully at length herein.

        186.    Denied.

        187.    Denied.

        188.    Denied.

        189.    Denied.

        190.    Defendant Mullaney neither admits nor denies the allegations in paragraph 190 of the

SAC as they do not relate to him.

        191.    Denied.

        192.    The allegations contained in paragraph 192 of the SAC are legal conclusions to which

no answer is required. To the extent an answer is deemed required, Defendant Mullaney avers that

Plaintiff purports to rely upon the statutory provisions set forth therein.

                                    ELEVENTH CLAIM OF RELIEF
            Fraudulent Transfer Under Section 548(a)(1)(B) of the Bankruptcy Code
                            (Against Defendant Brian Mullaney)

        193.    Defendant Mullaney repeats and restates each and every answer set forth above as if

set forth fully at length herein.

        194.    Denied.

        195.    Denied.

                                                   21
        196.    Denied.

        197.    Denied.

        198.    Defendant Mullaney neither admits nor denies the allegations in paragraph 198 of the

SAC as they do not relate to him.

        199.    Denied.

        200.    The allegations contained in paragraph 200 of the SAC are legal conclusions to which

no answer is required. To the extent an answer is deemed required, Defendant Mullaney avers that

Plaintiff purports to rely upon the statutory provisions set forth therein.

                                    TWELFTH CLAIM OF RELIEF
          Fraudulent Conveyance Under Section 548(a)(1)(B) of the Bankruptcy Code
                           (Against Defendant Brian Mullaney)

        201.    Defendant Mullaney repeats and restates each and every answer set forth above as if

set forth fully at length herein.

        202.    Denied.

        203.    Denied.

        204.    Denied.

        205.    Denied.

        206.    Defendant Mullaney neither admits nor denies the allegations in paragraph 206 of the

SAC as they do not relate to him.

        207.    Denied.

        208.    The allegations contained in paragraph 208 of the SAC are legal conclusions to which

no answer is required. To the extent an answer is deemed required, Defendant Mullaney avers that

Plaintiff purports to rely upon the statutory provisions set forth therein.




                                                   22
                                 THIRTEENTH CLAIM OF RELIEF
                           Avoidance and Recovery of Preferential Transfers
                                 (Against Defendant Brian Mullaney)

          209.   Defendant Mullaney repeats and restates each and every answer set forth above as if

set forth fully at length herein.

          210.   Defendant Mullaney admits only that he received $475,000 for compensation from

the Debtor within one year of the Petition Date. The remaining allegations in paragraph 210 are

denied.

          211.   Denied.

          212.   Denied.

          213.   Denied.

          214.   Denied.

          215.   Denied.

          216.   The allegations contained in paragraph 216 of the SAC are legal conclusions to which

no answer is required. To the extent an answer is deemed required, Defendant Mullaney avers that

Plaintiff purports to rely upon the statutory provisions set forth therein.

                                FOURTEENTH CLAIM OF RELIEF
            Avoidable Transfer Under Section 549(Against Defendant Brian Mullaney)

          217.   Defendant Mullaney repeats and restates each and every answer set forth above as if

set forth fully at length herein.

          218.   Denied.

          219.   Denied.

          220.   Denied.

          221.   Denied.

          222.   Denied.


                                                   23
        223.    The allegations contained in paragraph 223 of the SAC are legal conclusions to which

no answer is required.

        224.    The allegations contained in paragraph 224 of the SAC are legal conclusions to which

no answer is required. To the extent an answer is deemed required, Defendant Mullaney avers that

Plaintiff purports to rely upon the statutory provisions set forth therein.

                                    FIFTEENTH CLAIM OF RELIEF
                                          Disallowance of Claim
                                    (Against Defendant Brian Mullaney)

        225.    Defendant Mullaney repeats and restates each and every answer set forth above as if

set forth fully at length herein.

        226.    Defendant Mullaney admits only that he is a creditor holding an unsecured claim for

unpaid compensation.

        227.    Denied.

        228.    The allegations contained in paragraph 228 of the SAC are legal conclusions to which

no answer is required.

        229.    Denied.

                                    SIXTEENTH CLAIM OF RELIEF
               Disallowance of Claim under Section 502(d) of the Bankruptcy Code
                               (Against Defendant Brian Mullaney)

        230.    Defendant Mullaney repeats and restates each and every answer set forth above as if

set forth fully at length herein.

        231.    Admitted.

        232.    Denied.

        233.    Denied.

        To the extent that a response to the Plaintiff’s prayer for relief is required, Defendant Mullaney

denies that Plaintiff is entitled the relief sought against him.

                                                    24
                            SEPARATE AFFIRMATIVE DEFENSES

        Without admitting any liability under the SAC, Defendant Mullaney asserts the following

affirmative defenses and expressly reserves his rights to supplement these separate affirmative

defenses.

                                FIRST AFFIRMATIVE DEFENSE

        Plaintiff’s claims against Defendant Mullaney fail, in whole or in part, to state a cause of

action against Defendant Mullaney upon which relief can be granted.

                              SECOND AFFIRMATIVE DEFENSE

        Plaintiff’s claims against Defendant Mullaney are barred by the applicable statute of

limitations.

                               THIRD AFFIRMATIVE DEFENSE

        Plaintiff’s claims against Defendant Mullaney are barred, in whole or in part, by the doctrines

of laches, waiver, estoppel, release, in pari delicto and/or unclean hands.

                              FOURTH AFFIRMATIVE DEFENSE

        Defendant Mullaney acted at all times in good faith.

                                FIFTH AFFIRMATIVE DEFENSE

        Defendant Mullaney relied on auditors and other outside professionals to confirm the Debtor’s

internal controls surrounding business practices and its books and records.

                               SIXTH AFFIRMATIVE DEFENSE

        The SAC fails to plead the claims against Defendant Mullaney with the required level

of particularity.

                             SEVENTH AFFIRMATIVE DEFENSE

        To the extent Plaintiff seeks to amend to include any additional claims not covered by the

SAC, such claims are barred by the statute of limitations.



                                                  25
                              EIGHTH AFFIRMATIVE DEFENSE

       To the extent the Debtor transferred any interest in property to or for the benefit of Mullaney

during the preference period, such transfers were intended by the Debtor and Mullaney to be

contemporaneous exchanges for new value given to the Debtor, and the transfers were, in fact,

substantially contemporaneous exchanges. 11 U.S.C. § 547(c)(1).

                              NINTH AFFIRMATIVE DEFENSE

       To the extent the Debtor transferred any interest in property to or for the benefit of Defendant

Mullaney during the Preference Period, such transfers were in payment of a debt incurred by the

Debtor in the ordinary course of business or financial affairs of the Debtor and Mullaney and either

(i) made in the ordinary course of business or financial affairs of the Debtor and Mullaney or (ii)

made according to ordinary business terms. 11 U.S.C. § 547(c)(2).

                              TENTH AFFIRMATIVE DEFENSE

       To the extent that the Debtor transferred any interest in property to or for the benefit of

Defendant Mullaney during the Preference Period, such transfers were made for new value given to

or for the benefit of the Debtor, not secured by an otherwise unavoidable security interest and on

account of which new value the Debtor did not make an otherwise unavoidable transfer to or for the

benefit of Defendant Mullaney. 11 U.S.C. § 547(c)(4).

                           ELEVENTH AFFIRMATIVE DEFENSE

       To the extent Defendant Mullaney received the alleged transfers, such transfers were not made

while the Debtor was insolvent.

                            TWELFTH AFFIRMATIVE DEFENSE

       The Litigation Trustee’s constructive fraudulent conveyance, fraudulent conveyance,

fraudulent transfer, and avoidable transfer claims are barred, in whole or in part, because Defendant

Mullaney took the challenged transfers for value and in good faith and the Debtor received reasonably

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equivalent value in exchange for the alleged transfers or obligations incurred. The transfers are thus

not avoidable or recoverable as against Defendant Mullaney under sections 544, 548, 549 and 550 of

the Bankruptcy Code.

                           THIRTEENTH AFFIRMATIVE DEFENSE

       The Litigation Trustee’s claims are barred, in whole or in part, because he lacks standing to

bring them.

                           FOURTEENTH AFFIRMATIVE DEFENSE

       The Litigation Trustee’s claims are barred, in whole or in part, on the grounds of mootness.

                            FIFTEENTH AFFIRMATIVE DEFENSE

       The Litigation Trustee’s claims are barred, in whole or in part, because the Debtor’s estate

would be unjustly enriched it if were permitted to obtain recovery in this action.

                            SIXTEENTH AFFIRMATIVE DEFENSE

       Defendant Mullaney is entitled to setoff or recoupment against any claim for any amounts

owed to Defendant Mullaney by the Debtor for unpaid post-petition charges which are entitled to an

administrative expense priority under 11 U.S.C. § 503.

                          SEVENTEENTH AFFIRMATIVE DEFENSE

       Defendant Mullaney denies each and every allegation of the SAC not admitted or otherwise

controverted or qualified and further denies that Plaintiff is entitled to any relief whatsoever from

Defendant Mullaney.

        FEDERAL RULE OF BANKRUPTCY PROCEDURE 7012(B) STATEMENT

       To the extent the Litigation Trustee’s claims are non-core, Defendant Mullaney does not

consent to the entry of final orders or judgment by the Bankruptcy Court with respect to such non-

core claim or claims.




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                                   RESERVATION OF RIGHTS

       Defendant Mullaney expressly reserves the right to raise and assert any and all additional

defenses as additional facts are developed during discovery and the balance of litigation.

                                          JURY DEMAND

       Pursuant to Rule 9015 of the Federal Rules of Bankruptcy Procedure, Defendant Mullaney

hereby demands a jury trial on all issues so triable.

        WHEREFORE, Defendant Mullaney respectfully requests judgment in his favor,dismissing

the claims and causes of action in the SAC asserted against him with prejudice and granting such

other and further relief as deemed appropriate, including without limitation the award of attorneys’

fees and costs.

Dated: New York, New York
       February 26, 2021                                AMINI LLC

                                                        By: /s/ Bijan Amini________________
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